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Case:
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                          Doc.#:#:16
                                   2 Filed: 01/02/18
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                                                                27PageID
                                                                   PageID#:#:23
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Case:
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       4:18-mj-06003-PLC Doc.
                          Doc.#:#:16
                                   2 Filed: 01/02/18
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                                                                27PageID
                                                                   PageID#:#:24
                                                                              59
Case:
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       4:18-mj-06003-PLC Doc.
                          Doc.#:#:16
                                   2 Filed: 01/02/18
                                            01/18/19 Page: 5 of 7
                                                                27PageID
                                                                   PageID#:#:25
                                                                              60
Case:
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       4:18-mj-06003-PLC Doc.
                          Doc.#:#:16
                                   2 Filed: 01/02/18
                                            01/18/19 Page: 6 of 7
                                                                27PageID
                                                                   PageID#:#:26
                                                                              61
Case:
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       4:18-mj-06003-PLC Doc.
                          Doc.#:#:16
                                   2 Filed: 01/02/18
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Case:
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        4:18-mj-06003-PLCDoc.
                          Doc.#:#:161 Filed:
                                      Filed:01/18/19
                                             01/02/18 Page:
                                                      Page:10
                                                            3 of
                                                              of20
                                                                 27PageID
                                                                   PageID#:
                                                                          #:365
Case:
 Case:4:18-mj-06003-PLC
        4:18-mj-06003-PLCDoc.
                          Doc.#:#:161 Filed:
                                      Filed:01/18/19
                                             01/02/18 Page:
                                                      Page:11
                                                            4 of
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Case: 4:18-mj-06003-PLC Doc. #: 16 Filed: 01/18/19 Page: 12 of 27 PageID #: 67
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Case:
 Case:4:18-mj-06003-PLC
        4:18-mj-06003-PLCDoc.
                          Doc.#:#:161 Filed:
                                      Filed:01/18/19
                                             01/02/18 Page:
                                                      Page:15
                                                            8 of
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                                                                   PageID#:
                                                                          #:870
Case:
 Case:4:18-mj-06003-PLC
        4:18-mj-06003-PLCDoc.
                          Doc.#:#:161 Filed:
                                      Filed:01/18/19
                                             01/02/18 Page:
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                                                                 27PageID
                                                                   PageID#:
                                                                          #:971
Case:
Case:4:18-mj-06003-PLC
      4:18-mj-06003-PLC Doc.
                        Doc.#:
                             #: 16
                                 1 Filed:
                                   Filed:01/02/18
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                                                                PageID#:
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Case:
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      4:18-mj-06003-PLC Doc.
                        Doc.#:
                             #: 16
                                 1 Filed:
                                   Filed:01/02/18
                                          01/18/19 Page:
                                                   Page:11
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                                                              27PageID
                                                                PageID#:
                                                                       #:11
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Case:
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      4:18-mj-06003-PLC Doc.
                        Doc.#:
                             #: 16
                                 1 Filed:
                                   Filed:01/02/18
                                          01/18/19 Page:
                                                   Page:12
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                                                           of20
                                                              27PageID
                                                                PageID#:
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      4:18-mj-06003-PLC Doc.
                        Doc.#:
                             #: 16
                                 1 Filed:
                                   Filed:01/02/18
                                          01/18/19 Page:
                                                   Page:13
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                                                           of20
                                                              27PageID
                                                                PageID#:
                                                                       #:13
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Case:
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      4:18-mj-06003-PLC Doc.
                        Doc.#:
                             #: 16
                                 1 Filed:
                                   Filed:01/02/18
                                          01/18/19 Page:
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                                                           of20
                                                              27PageID
                                                                PageID#:
                                                                       #:14
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Case:
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      4:18-mj-06003-PLC Doc.
                        Doc.#:
                             #: 16
                                 1 Filed:
                                   Filed:01/02/18
                                          01/18/19 Page:
                                                   Page:15
                                                         22of
                                                           of20
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Case:
Case:4:18-mj-06003-PLC
      4:18-mj-06003-PLC Doc.
                        Doc.#:
                             #: 16
                                 1 Filed:
                                   Filed:01/02/18
                                          01/18/19 Page:
                                                   Page:17
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                                                           of20
                                                              27PageID
                                                                PageID#:
                                                                       #:17
                                                                         79
Case:
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      4:18-mj-06003-PLC Doc.
                        Doc.#:
                             #: 16
                                 1 Filed:
                                   Filed:01/02/18
                                          01/18/19 Page:
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                                                           of20
                                                              27PageID
                                                                PageID#:
                                                                       #:18
                                                                         80
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      4:18-mj-06003-PLC Doc.
                        Doc.#:
                             #: 16
                                 1 Filed:
                                   Filed:01/02/18
                                          01/18/19 Page:
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                                                           of20
                                                              27PageID
                                                                PageID#:
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      4:18-mj-06003-PLC Doc.
                        Doc.#:
                             #: 16
                                 1 Filed:
                                   Filed:01/02/18
                                          01/18/19 Page:
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